                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE


  LEWIS COSBY, on behalf of himself and all           )
  others similarly situated,                          )
                                                      )
                Plaintiff,                            )
                                                      )
                                                      )
  v.                                                  )      No. 3:16-CV-121-TAV-DCP
                                                      )
  KPMG, LLP,                                          )
                                                      )
                Defendant.                            )


                                              ORDER

         This case is before the undersigned pursuant to 28 U.S.C. § 636, the Rules of this Court,

  and Standing Order 13-02.

         Now before the Court is a Joint Motion of the Parties to Amend Scheduling Order (“Joint

  Motion”) [Doc. 82]. Since the filing of the parties’ Joint Motion, the undersigned has had two

  telephonic conferences, see [Docs. 88, 91], with the parties in order to determine an appropriate

  Scheduling Order in this case. The parties have now filed a Joint Notice of Filing the Parties’

  Fourth Proposed Amended Scheduling Order (“Joint Notice”) [Doc. 92]. Accordingly, the Joint

  Motion of the Parties to Amend Scheduling Order [Doc. 82] is DENIED AS MOOT.

         The Court has reviewed the parties’ Joint Notice and will enter the proposed Scheduling

  Order, contemporaneously with the instant Order, with the following modifications:

                1. Daubert motions shall be filed on or before October 9, 2019;
                   and




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             2. The parties shall file their dispositive motions on or before
                September 16, 2019, and the Local Rules shall govern the
                briefing schedule, see E.D. Tenn. L.R. 7.1.

        IT IS SO ORDERED.

                                                ENTER:

                                                __________________________
                                                Debra C. Poplin
                                                United States Magistrate Judge




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